                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA

                                    ASHEVILLE DIVISION

JANE ROE,                              )
                                       )
                        Plaintiff,     )
                                       )
v.                                     ) Civil No. 1:20-cv-00066-WGY
                                       )
UNITED STATES OF AMERICA, et al.,      )
                                       )
                        Defendants.    )
                                       )
_______________________________________)


     PLAINTIFF’S PARTIAL OPPOSITION TO DEFENDANTS’ MOTION FOR
   EXTENSION OF TIME TO FILE OPPOSITION TO PLAINTIFF’S MOTION FOR
                    PARTIAL SUMMARY JUDGMENT

       On August 26, 2020, the official capacity and entity defendants moved for an extension

of time to file their opposition to Roe’s motion for partial summary judgment. ECF No. 63.

Specifically, defendants requested an extra 28 days to “gather relevant documents and obtain

declarations from various witnesses.” Id. at 2. In response to defendants’ extension request,

Roe’s counsel stated that he “does not oppose a reasonable extension of time for the purpose of

drafting a response brief; however, Plaintiff’s counsel does oppose any extension for the purpose

of creating an evidentiary record in support of Defendants’ response brief, which has not been

produced in response to Plaintiff’s discovery requests.” Id. at 2–3.

       Roe partially opposes defendants’ requested extension because defendants should not be

permitted to selectively present a one-sided factual narrative at the summary judgment stage after

not engaging in discovery. As of the time of this filing, defendants have not served their initial

disclosures or provided any discovery responsive to Roe’s requests. Though defendants stated in

their extension request that they intend to present “declarations from various witnesses” in

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opposition to Roe’s partial summary judgment motion, ECF No. 63, at 2, they did not previously

identify these witnesses through initial disclosures as required by Fed. R. Civ. P. 26(a)(1)(A)(i).

That rule requires disclosure of “the name and, if known, the address and telephone number of

each individual likely to have discoverable information—along with the subjects of that

information—that the disclosing party may use to support its claims or defenses.” Id. Similarly,

though defendants stated that the “process is underway” to “gather relevant documents” to

oppose Roe’s partial summary judgment motion, ECF No. 63, at 2, those documents were not

produced in response to her discovery requests. Moreover, defendants did not disclose “a

copy—or a description by category and location—of all documents, electronically stored

information, and tangible things . . . in [their] possession, custody, or control” that they “may use

to support [their] claims or defenses” through initial disclosures. Fed. R. Civ. P. 26(a)(1)(A)(ii).

Defendants’ non-disclosure of their witnesses and documents has prejudiced Roe by, for

example, preventing her from making informed decisions regarding depositions prior to the

summary judgment phase of litigation.

         From defendants’ extension request, it appears they intend to present a one-sided

narrative of the facts to the Court, based on “evidence” including “documents” and

“declarations” that they choose to selectively produce. ECF No. 63, at 2. Defendants’ approach

runs contrary to the fundamental principle that “a court is entitled to have before it a proper

record, sufficiently developed through discovery proceedings, to accurately assess any claim,

including one of immunity.” Al Shimari v. CACI Int’l, Inc., 679 F.3d 205, 220 (4th Cir. 2012)

(en banc). Moreover, their approach prejudices Roe by depriving her of a fair opportunity to

“present facts essential to justify [her] opposition” to their factual assertions. Fed. R. Civ. P.

56(d).



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       For these reasons and others which will be explained in a forthcoming motion for case

management conference, 1 Roe partially opposes defendants’ requested extension of time to

respond to her partial summary judgment motion.

       This the 31st day of August, 2020.

                                                          Respectfully Submitted,

                                                          /s/ Cooper Strickland
                                                          Cooper Strickland
                                                          N.C. Bar No. 43242
                                                          P.O. Box 92
                                                          Lynn, NC 28750
                                                          Tel. (828) 817-3703
                                                          cooper.strickland@gmail.com

                                                          Counsel for Plaintiff




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        Roe’s counsel intends to file a motion for case management conference and any other
appropriate relief after conferring with defendants pursuant to Local Rule 7.1.
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                                 CERTIFICATE OF SERVICE
I hereby certify that on the 31st day of August, 2020, I will electronically file the foregoing with

the Clerk of Court using the CM/ECF system, which will then send a notification of such filing

(NEF) to the following:

       Gill P. Beck at Gill.Beck@usdoj.gov

       Joshua M. Kolsky at Joshua.kolsky@usdoj.gov

       Shannon Sumerall Spainhour at mss@dhwlegal.com



                                                              /s/ Cooper Strickland
                                                              Cooper Strickland
                                                              N.C. Bar No. 43242
                                                              P.O. Box 92
                                                              Lynn, NC 28750
                                                              Tel. (828) 817-3703
                                                              cooper.strickland@gmail.com




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